                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




In re:                                       )
                                             )                   Chapter 9
CITY OF DETROIT, MICHIGAN,                   )                   Case No. 13-53846
                                             )                   Hon. Steven W. Rhodes
                         Debtor.             )
                                             )




               SUPPLEMENTAL BRIEF IN SUPPORT OF
       OBJECTION OF THE DETROIT RETIREMENT SYSTEMS TO
     THE ELIGIBILITY OF THE CITY OF DETROIT, MICHIGAN, TO BE
      A DEBTOR UNDER CHAPTER 9 OF THE BANKRUPTCY CODE1




1
   The Retirement Systems are filing this Supplemental Brief pursuant to the Court’s Order
Regarding Further Briefing on Eligibility, dated October 17, 2013 (Dkt. No. 1217). This
Supplemental Brief is filed subject to the reservations of rights in the Appearance filed by the
undersigned counsel in this case, including the Retirement Systems’ right to argue that this Court
lacks subject matter jurisdiction. This Supplemental Brief incorporates by reference the
arguments and objections previously raised by the Retirement Systems in the Objection of the
Detroit Retirement Systems to the Eligibility of the City of Detroit, Michigan to Be a Debtor
Under Chapter 9 of the Bankruptcy Code (Dkt. No. 519) (the “Objection”) and the Reply in
Support of Objection of the Detroit Retirement Systems to the Eligibility of the City of Detroit,
Michigan to Be a Debtor Under Chapter 9 of the Bankruptcy Code (Dkt. No. 1166) (the
“Reply”). The Retirement Systems also join in the objection of the Retired Detroit Police
Members Association that PA 436 is ineffective because it was enacted in violation of the
Referendum Clause of the Michigan Constitution.

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         The Police and Fire Retirement System of the City of Detroit and the

General Retirement System of the City of Detroit (together, the “Retirement

Systems”) respectfully submit this Supplemental Brief in support of their objection

to the eligibility of the City of Detroit, Michigan (the “City”) to be a debtor under

Chapter 9 of the Bankruptcy Code. For the reasons set forth in the Retirement

Systems’ Objection and Reply and in other objections: (a) the Pensions Clause

does not conflict with the Bankruptcy Code’s priority scheme; (b) any impairment

of accrued pension benefits in this case is prohibited by the Pensions Clause; and

(c) if the Court were to conclude that the protections of the Pensions Clause are

irreconcilable with Chapter 9, then the only conclusion is that the City’s petition

must be dismissed.

I.       THE PENSIONS CLAUSE CAN BE ENFORCED CONSISTENTLY
         WITH THE BANKRUPTCY CODE
         An order for relief that gives effect to the Pensions Clause and prohibits

diminution or impairment of the City’s pensions does not contravene any provision

of the Bankruptcy Code, including the claims priority scheme under Chapter 9.2




2
  To what extent a priority scheme exists under Chapter 9 is not entirely clear, in the absence of
the incorporation of most of section 507(a) into Chapter 9. The Retirement Systems reserve all
rights regarding this issue.

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        A.       State Law Determines the Legal Nature and Substance of Claims
                 in Bankruptcy

        The nature of a claim, and the substantive rights of creditors, are always

determined in the first instance by state law. See Travelers Cas. & Sur. Co. of Am.

v. Pacific Gas & Elec. Co., 549 U.S. 443, 450-51 (2007) (“‘state law governs the

substance of claims, Congress having generally left the determination of property

rights in the assets of a bankrupt’s estate to state law’”) (citation omitted); Butner

v. U.S., 440 U.S. 48, 55 (1979) (“Property interests are created and defined by state

law.”). Here, applicable state law – the Michigan Constitution – provides that

vested pensions constitute property rights that shall not be diminished or impaired.

        B.       Under Michigan Law, Accrued Pension Obligations are Vested
                 Property Rights that Cannot Be Impaired
        Board of Regents v. Roth, 408 U.S. 564 (1972), explains that certain types of

contract rights rise to the level of “property” protected by the Constitution from

deprivation by state action:

        To have a property interest in a benefit [provided by the state], a
        person clearly must have more than an abstract need or desire for it.
        He must have more than a unilateral expectation of it. He must,
        instead, have a legitimate claim of entitlement to it. It is a purpose of
        the ancient institution of property to protect those claims upon which
        people rely in their daily lives, reliance that must not be arbitrarily
        undermined. . . .

        Property interests, of course, are not created by the Constitution.
        Rather, they are created and their dimensions are defined by existing
        rules or understandings that stem from an independent source such as


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        state law-rules or understandings that secure certain benefits and that
        support claims of entitlement to those benefits.

Id. at 577. The vested pension benefits of Detroit’s employees and retirees fall

squarely within this definition of “property” for purposes of constitutional

protection: they are claims of entitlement which are protected under the State’s

highest law, and public employees rely in their daily lives upon the inviolability of

these rights.            Indeed, courts have applied Roth to pension benefits when

interpreting constitutional provisions very similar to the Pensions Clause. See,

e.g., Russell v. Dunston, 896 F.2d 664, 668-669 (2d Cir. 1990) (applying Roth to

pension obligations protected by state constitutional provision); Marconi v.

Chicago Heights Police Pension Bd., 361 Ill. App. 3d. 1, 24 (Ill. App. 2005), rev’d

on other grounds, 225 Ill.2d 497 (2006) (same).

        Michigan case law confirms that accrued pension benefits are earned and

vested rights, to which, in accordance with Roth, each vested employee or retiree

has a “legitimate claim of entitlement,” amounting to a “property interest in a

benefit.” As the Michigan Supreme Court has recognized, “pension obligations

differ from nearly every other type of government spending insofar as they simply

cannot be reduced or cut. . . . Michigan governmental units do not have the option .

. . of not paying retirement benefits.” Musselman v. Governor of Mich., 533

N.W.2d 237, 243 (Mich. 1995), aff’d on reh’g, 545 N.W.2d 346 (Mich. 1996).

Moreover, “the state may not reduce the pension benefit of any state employee or

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official, or local employee or official, once a pension right has been granted.” Seitz

v. Probate Judges Ret. Sys., 474 N.W.2d 125, 130 (Mich. App. 1991), appeal

denied, 482 N.W.2d 459 (Mich. 1992), reconsideration denied, 483 N.W.2d 898

(Mich. 1992).

        C.       The Bankruptcy Code Provides for Different Treatment of
                 Legally Distinct Claims
        Giving full effect to Michigan law protecting pension benefits is fully

consistent with the Bankruptcy Code. The Code defines claims by their rights

under state law, and not all unsecured claims are equal under state law. The Code

permits even radically different treatment among classes of unsecured claims,

when such distinctions are justified by differences in the claims’ legal rights and

attributes. The Sixth Circuit has so held. See, e.g., Class Five Nev. Claimants v.

Dow Corning Corp. (In re Dow Corning Corp.), 280 F.3d 648, 661-63 (6th Cir.

2002), cert. denied, 537 U.S. 816 (2002) (separate classification and treatment of

foreign and domestic unsecured tort claimants, resulting in a recovery differential

of 35-60%, was proper because tort awards in other countries were significantly

lower than U.S. tort awards); Teamsters Nat’l Freight Indus. Negotiating Comm. v.

U.S. Truck Co. (In re U.S. Truck Co.), 800 F.2d 581, 584-87 (6th Cir. 1986)

(permitting separate classification of union’s claims, due to unique interest of its

represented employees in debtor’s ongoing business and impact on future

collective bargaining process); In re General Homes Corp., 134 B.R. 853, 863

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(Bankr. S.D. Tex. 1991) (“The legal character of a claim may also itself justify

both disparate classification and treatment.”). Indeed, where the legal rights differ

materially from one type of claim to another, separate classification is not just

permitted, it is required. As provided by §1122(a), “a plan may place a claim or an

interest in a particular class only if such claim or interest is substantially similar to

the other claims or interests of such class.” (emphasis supplied). See also Aetna

Cas. & Sur. Co. v. Clerk (In re Chateaugay Corp.), 89 F.3d 942, 949 (2d Cir.

1996) (“Dissimilar claims may not be classified together . . . .”).                   Separate

classification and disparate treatment is not limited to Chapter 11: it is also

appropriate in Chapter 9, as §901 expressly incorporates §1122. See In re Jersey

City Med. Ctr., 817 F.2d 1055, 1060-61 (3d Cir. 1987) (upholding separate

classification and disparate treatment of, inter alia, employee benefit plan claims

versus trade creditor claims); Sanitary & Improvement Dist. 65 of Sarpy Cty., Neb.

v. First Nat’l Bank of Aurora, 79 B.R. 877 (D. Neb. 1987), aff’d on other grounds,

873 F.2d 209 (8th Cir. 1989) (upholding separate classification and treatment of

bondholders versus warrantholders, due to different attributes and rights of

repayment under state law). Unsecured claims with substantially different legal

rights under applicable state law are simply not required to be treated pari passu.3


3
  Similarly, §943(b)(7)’s “best interests of creditors” requirement would not bar preservation of
accrued pension obligations under a plan. Unlike Chapter 11, Chapter 9 does not test a plan by
comparison to a liquidation alternative – the alternative is dismissal of the case. See Cty. of

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        D.       Non-Impairment of Pension Obligations Will Not Violate the
                 Bankruptcy Code
        Enforcing the Pensions Clause by prohibiting the impairment of accrued

pension benefits in this case does not conflict with any claims priority scheme

under Chapter 9.         To the contrary, Chapter 9 itself contemplates classes of

unimpaired unsecured claims. Section 944(c)(1) provides that a municipal debtor

will not be discharged from any debt that is “excepted from discharge by the plan

or order confirming the plan . . . .” Yet Chapter 9 contains no specific provisions

identifying claims that may or must be excepted from discharge.4 The City argued

in rebuttal that §944(c) was simply designed to provide unilateral flexibility to the

reorganizing entity. But nothing in the Bankruptcy Code suggests that §944(c) is

so limited, and that it cannot accommodate a constitutional mandate to protect

certain claims. Rather, §944(c) can and should be interpreted as recognizing the

nondischargeability of pension benefits under the Michigan Constitution, due to

the unique sovereignty and federalism issues implicated in Chapter 9.




Orange v. Merrill Lynch & Co. (In re Cty. of Orange), 191 B.R. 1005, 1020 (Bankr. C.D. Cal.
1996). For the tens of thousands of Detroit pensioners, absent non-impairment in the Chapter 9
case, their non-bankruptcy alternative is better: strict enforcement of the Pensions Clause under
Michigan law.
4
 Other than incorporating parts of §524(a) describing the effect of a discharge, §944(c) is the
only provision of Chapter 9 that addresses discharge; §§523, 727, and 1141(d) of the Bankruptcy
Code are not applicable in Chapter 9. See 11 U.S.C. § 901(a).


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          It is widely accepted that cities may separately classify pension obligations

and treat them as unimpaired, while materially impairing bondholders and other

classes of unsecured creditors: Vallejo’s plan did so;5 Stockton’s plan proposes to

do so.6       If such treatment is permitted on a voluntary basis, it is likewise

appropriate when compelled by fundamental differences in the legal rights granted

to pensions under state law and the cities’ special relationship to their employees.7

No conflict exists between Chapter 9 and state laws protecting pensions.

          Here, the City could comply with the Michigan Constitution by excepting

accrued pension obligations from discharge, consistent with the Pensions Clause.

Such compliance would avoid (i) rendering PA 436 unconstitutional or (ii)


5
 In re City of Vallejo, CA., Case No. 08-26813, Order Confirming Second Amended Plan for the
Adjustment of Debts of City of Vallejo, California, as Modified August 2, 2011, Ex. 1, at 34
(Doc. No. 1113) (Bankr. E.D. Cal. Aug. 4, 2011) (CalPERS pension plan was not impaired; city
would continue to honor its pension obligations pursuant to non-bankruptcy law).
6
 In re City of Stockton, CA., Case No. 12-32118, Plan for the Adjustment of Debts of City of
Stockton, California, at 71-72 (Doc. No. 1133) (Bankr. E.D. Cal. Oct. 10, 2013) (CalPERS
pension plan not impaired; city would continue to honor its pension obligations pursuant to non-
bankruptcy law).
7
  Non-impairment of pension obligations would be permissible whether a plan is confirmed
consensually or under the Code’s cram-down provisions, because the absolute priority rule in
§1129(b)(2)(B) (which is incorporated by §901) requires only that if a class of unsecured claims
is not paid in full, no junior class will receive or retain any property on account of such claim,
and the Retirement Systems’ claims are not junior to any other unsecured claims. Even without
the imprimatur of §944(c), §§1122(a) and 1123(a)(1) have been held to permit separate
classification of nondischargeable claims and different treatment from that afforded to unsecured
creditors whose claims are subject to the §1141(d)(1)(A) discharge. See In re Weingarden, 84
B.R. 691, 692 (Bankr. S.D. Cal. 1988).


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rendering the City’s eventual plan unconfirmable, either as contrary to state law

under §943(b)(4) or because it is subject to a popular vote on a constitutional

amendment of the Pensions Clause under §943(b)(6).8 Nor would treating accrued

pension obligations as unimpaired, as required by the Pensions Clause, violate the

uniformity of bankruptcy law. Federal bankruptcy law does not preempt the field

with respect to the characterization and treatment of claims in bankruptcy cases.

On the contrary, Butner and Travelers require bankruptcy courts to look to state

law to determine claims and property interests. Absent a direct conflict between

state and federal law, “the state and federal legislatures share concurrent authority

to promulgate bankruptcy laws . . . .” Rhodes v. Stewart, 705 F.2d 159, 163 (6th

Cir. 1983), cert. denied, 464 U.S. 983 (1983) (citations omitted). Accordingly,

states are presumptively permitted to act in the sphere of bankruptcy laws, subject

to the Supremacy Clause and the doctrine of conflict preemption. See Richardson

v. Schafer (In re Schafer), 689 F.3d 601, 607 (6th Cir. 2012), cert. denied, 133 S.

Ct. 1244 (2013) (upholding Michigan exemption statute).

        No grounds for conflict preemption exist here: (1) state law determines the

legal character of pension-benefit claims in bankruptcy, (2) the Bankruptcy Code

8
  See, e.g., In re City of Colorado Springs Spring Creek Gen. Imp. Dist., 177 B.R. 684, 695
(Bankr. D. Colo. 1995) (“Federal law cannot obliterate or supersede requirements for elections
imposed by Colorado law. Chapter 9 provides only a forum and a mechanism for reorganization;
state law establishes the eligibility and substantive requirements for and limitations upon
reorganization”).


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permits different treatment of claims based on their underlying legal rights, (3)

such differences in treatment do not violate any priority scheme of Chapter 9, and

(4) §944(c)(1) broadly permits a municipal debtor to except claims from discharge.

The Pensions Clause is not actually in conflict with any federal bankruptcy

provision or policy, and can and must be enforced in the City’s Chapter 9 case.

See Schafer, 689 F.3d at 613 (“state laws are thus suspended only to the extent of

actual conflict with the system provided by the Bankruptcy Act of Congress”)

(quoting Stellwagen v. Clum, 245 U.S. 605, 613 (1918)).

II.     IMPAIRMENT OF ACCRUED BENEFITS IN THIS CASE WOULD
        INDEED VIOLATE THE PENSIONS CLAUSE
        The City has argued that the only “impairer” of accrued pension benefits in

this case would be the federal government, and therefore the Pensions Clause’s

prohibition against impairment by the State or its political subdivisions is of no

moment. At oral argument, the City specifically relied upon Bekins v. United

States, 304 U.S. 27 (1938). However, Bekins did not hold that the Chapter 9

debtor is not an active participant in the impairment of contracts under its own

proposed plan. Moreover, this argument runs directly contrary to the language of

§109(c)(5)(A) and (B), which recognizes that the debtor is the relevant actor by

explicitly referring to the debtor entity’s intention to impair claims under a plan.9


9
  Bekins interprets only the federal Constitution, not Michigan’s, in holding that, provided the
state has affirmatively consented to a filing, the predecessor of Chapter 9 is not unconstitutional.

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III.    UNLESS ELIGIBILITY IS CONDITIONED UPON NON-
        IMPAIRMENT OF PENSIONS, THE CASE MUST BE DISMISSED
        The only way for the City to proceed in Chapter 9 without violating the

United States and Michigan Constitutions is to condition the filing on the non-

impairment of accrued pension benefits.              If the Court were to find that this

condition conflicts impermissibly with the Bankruptcy Code, then the City simply

is not eligible to be a debtor under §109(c), and the petition must be dismissed.10

Respectfully, this is the only solution that comports with the Tenth Amendment.

Dated: October 30, 2013

Respectfully submitted,

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Retirement System of the City of Detroit



Bekins does not address, much less rule upon, the issue of whether the circumstances of a
Chapter 9 filing might violate a state constitution.
10
  Cty. of Orange and the City’s other authorities are inapposite because they neither (a) involved
a state constitutionally protected class of claims, nor (b) addressed such a protection as a
threshold, gating eligibility issue under §109(c)(2).


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                              CERTIFICATE OF SERVICE

        The undersigned certifies that on October 30, 2013, the foregoing document

was filed using the Court’s CM/ECF system, which CM/ECF system will send

notification of such filing to all parties of record.


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